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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



  Civil Action No. 16-cv-01114-MEH

  EQUITY BUILD, INC., a Florida corporation; and
  EQUITY BUILD FINANCE, LLC f/k/a HARD MONEY COMPANY LLC,
       a Florida limited liability company,

         Plaintiffs,

  v.

  DIRECT SOURCE WEALTH, INC., a Puerto Rico corporation;
  DIRECT SOURCE LOANS LLC a/k/a DIRECT SOURCE LLC,
       an Arizona limited liability company;
  INVESTCO INTERNATIONAL, INC., a Puerto Rico corporation;
  KIRA GOLDEN a/k/a KIRA MCCLELLAN, an individual; and
  MATTHEW MCCLELLAN, an individual.

         Defendants.


                                    FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and pursuant

  to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Order Granting the parties’ Request for Dismissal With Prejudice

  (Doc. No. 33) of Judge of Judge Christine M. Arguello entered on 06/05/2017 it is

         ORDERED that the Parties’ Request for Dismissal with Prejudice (Doc. No. 32) is

  GRANTED. It is

         FURTHER ORDERED that the each Party is to pay its own costs and attorneys’

  fees. It is
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        FURTHER ORDERED that this action is DISMISSED WITH PREJUDICE.

        DATED: June 5, 2017.

                                          FOR THE COURT:
                                          JEFFREY P. COLWELL, CLERK



                                    By:    s/S. West
                                             S. West
                                             Deputy Clerk
